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                                 United States District Court
                                Southern District of New York

 MEDIDATA solutions, INC., et al.


 (List the full name(s) of the plaintiff{s)/petitioner(s).)                                 _^CV_589__ (lgsX                         )

                                   -against-                                                AMENDED
                                                                                            NOTICE OF APPEAL
 VEEVA SYSTEMS INC.


(List the full name(s) of the defendant(s)/respondent(s).)




Notice is hereby given that the following parties:                          Veeva Systems Inc.


(list the names of all parties who are filing an appeal)


in the above-named case appeal to the United States Court of Appeals for the Second Circuit

from the            □ judgment             0 order            entered on:            February 27, 2018_________________
                                                                                    (date that judgment or order was entered on docket)
that:
             Defendant Veeva appeals from an order denying defendant's renewed motion to compel

arbitration and stay the case (SDNY Dkt. 97)_____________________
(If the appeal is from an order, provide a brief description above of the decision in the order.)


  March 29, 2018_____________                                           _______________
  Dated                                                                     Signature

  Anderson, Christa M., Keker, Van Nest & Peters LLP
 Name (Last, First, Ml)

  633 Battery Sheet                              San Francisco              CA                                94111
 Address                                           City                     state                             Zip Code

  415-391-5400                                                              canderson(^keker. com
 Telephone Number                                                           E-mail Address (if available)




’ Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephone
number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.

Rev. 12/23/13
